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                       IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT

                                  _________________________

                                        No. 20-11401-W
                                  _________________________

YASHICA ROBINSON,
M.D., on behalf of themselves, their patients,
physicians, clinic administrators, and staff,
ALABAMA WOMEN'S CENTER,
on behalf of themselves, their patients, physicians,
clinic administrators, and staff,
REPRODUCTIVE HEALTH SERVICES,
on behalf of themselves, their patients, physicians,
clinic administrators, and staff,
WEST ALABAMA WOMEN'S CENTER,
on behalf of themselves, their patients, physicians,
clinic administrators, and staff,

                                                              Plaintiffs - Appellees,

PLANNED PARENTHOOD SOUTHEAST INC.,
on behalf of themselves, their patients, physicians,
clinic administrators, and staff,

                                                              Plaintiff,

                                                versus

ATTORNEY GENERAL, STATE OF ALABAMA,
SCOTT HARRIS,
M.D., in his official capacity as the State Health
Officer at the Alabama State Department of
Public Health,

                                                              Defendants - Appellants,

ROBERT L. BROUSSARD,
in his official capacity as District Attorney
for Madison County, et al.,

                                                              Defendants.
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                                On Appeal from the United States
                        District Court for the Middle District of Alabama
                                 __________________________

BEFORE: JORDAN, TJOFLAT, and HULL, Circuit Judges.

BY THE COURT:

       The parties’ “Joint Motion to Voluntarily Dismiss Appeal” is GRANTED. This appeal is

DISMISSED.

       The parties’ request to transfer consideration of attorney’s fees on appeal to the district

court is GRANTED. See 11th Cir. R. 39-2(d).

       The Clerk’s Office is directed to close this matter.
